      Case 1:25-cv-00036-GSK           Document 25         Filed 06/06/25       Page 1 of 42




UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. GARY S. KATZMANN
-------------------------------------------------------------------- X
ETEROS TECHNOLOGIES USA, INC.,                                        :
                                                                      :
                 Plaintiff,                                           :
                                                                      :
                 v.                                                   : Case No. 25-cv-36-GSK
                                                                      :
UNITED STATES OF AMERICA,                                             :
                                                                      :
                                                                      :
                 Defendant.                                           :
-------------------------------------------------------------------- X




     PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
                                DISMISS




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Dated: June 6, 2025
        Case 1:25-cv-00036-GSK                         Document 25                 Filed 06/06/25                Page 2 of 42




                                                   TABLE OF CONTENTS

BACKGROUND ........................................................................................................................ 2
I.        Federal Prohibition of “Drug Paraphernalia” and the Personal Authorization
          Exemption– 21 U.S.C. § 863(f)(1) ................................................................................... 2
          A.         Eteros I – CIT Confirms that “Persons Authorized” Under 21 U.S.C.
                     § 863(f)(1) Are Exempt from Federal Prohibitions Otherwise Attendant to
                     “Drug Paraphernalia.” .......................................................................................... 4
II.       CBP’s Retaliatory Actions Against Eteros’s Executives (2024-2025). ............................. 5
          A.         Retaliation Against Eteros CEO Aaron McKellar: Issuance and Vacatur of
                     Expedited Removal Order and Subsequent Vacatur of Same. ............................... 6
                     1.         Expedited Removal of Eteros CEO Aaron McKellar................................. 6
                     2.         Defendant Gill Denies ERO Reconsideration. ........................................... 7
                     3.         Eteros Files Unrelated Actions in the U.S. Court of International Trade
                                and the U.S. District Court for the Western District of Washington........... 9
                     4.         CBP Vacates McKellar’s Removal Order but Maintains its Legal
                                Position. ................................................................................................. 12
                     5.         CBP Refuses McKellar’s April 29, 2025, Attempted U.S. Entry. ............ 13
          B.         Retaliation Against Other Eteros Executives. ..................................................... 14
                     1.         Amanda James, Director of Strategy & Business Development at
                                Eteros: Denial, Grant, and Notice of Intent to Revoke Her L-1A Work
                                Visa. ....................................................................................................... 14
                     2.         Ryan Bjergso, Vice President of Operations at Eteros: NEXUS
                                Revocation. ............................................................................................ 17
          C.         Eteros’s FOIA Efforts and CBP’s Non-Compliance. .......................................... 17
STANDARD OF REVIEW ....................................................................................................... 18
REQUEST TO INCORPORATE RECORD FROM ETEROS I................................................. 19
ARGUMENT ............................................................................................................................ 20
I.        The CIT Has Jurisdiction Under 28 U.S.C. § 1581(i)(1)(D) to Prevent CBP From
          Undermining the Administration and Enforcement of this Court’s Prior Judgment in
          Eteros I.......................................................................................................................... 20
          A.         The CIT’s § 1581(i) Residual Jurisdiction Fills the Gap to Review Whether the
                     Defendant has Corrupted the Administration and Enforcement of this Court’s
                     Prior § 1581(a) Judgment in Eteros I. ................................................................. 21
          B.         Eteros Seeks Declaratory Relief to Safeguard the Court’s Prior Eteros I Ruling
                     – Not to Obtain Immigration Benefits for Individual Employees Retaliated
                     Against by Defendant......................................................................................... 23


                                                                      ii
        Case 1:25-cv-00036-GSK                        Document 25                 Filed 06/06/25               Page 3 of 42




          C.        Section 1581(i)(1)(D) Is Properly Invoked to Preserve the Judicial Integrity of
                    This Court and Its Prior Judgments, and to Prevent a Chilling Effect on CIT
                    Litigants. ............................................................................................................ 25
          D.        The All Writs Act Supports Jurisdiction Under § 1581(i)(1)(D) and Empowers
                    the Court to Protect its Judgment in Eteros I. ..................................................... 28
                    1.         Statutory Authority for Invoking the All Writs Act in this Case. ............. 28
                    2.         CBP’s Retaliatory Actions Threaten the Integrity and Enforceability of
                               this Court’s Judgment in Eteros I............................................................ 30
                    3.         The Government’s Objections to All Writs Relief Are Unavailing. ......... 33
II.       In the Alternative, the Court May Reopen Eteros I and Convert this Action to an
          Enforcement or Contempt Proceeding............................................................................ 34
CONCLUSION ......................................................................................................................... 36




                                                                    iii
        Case 1:25-cv-00036-GSK                        Document 25                Filed 06/06/25              Page 4 of 42




                                               TABLE OF AUTHORITIES


Cases
Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) ...............................................................19
Ashcroft v. Iqbal, 556 U.S. 662 (2009) ......................................................................................19
Baker Perkins, Inc. v. Werner & Pfleiderer Corp., 710 F.2d 1561 (Fed Cir. 1983) .................... 29
Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) .......................................................................19
Cooper v. Pate, 378 U.S. 546 (1964) .........................................................................................19
Dietzsch v. Huidekoper, 103 U.S. 494 (1880) ............................................................................29
Duferco Steel, Inc. v. United States, 403 F. Supp. 2d 1281 (Ct. Int’l Tr. 2005). ................... 25, 26
Eteros Technologies USA, Inc. v. United States, 592 F. Supp. 3d 1313 (Ct. Int’l Tr. 2022) . passim
Former Emps. of Sonoco Prods. Co. v. United States, 27 C.I.T. 812 (2003)...............................19
Gould, Inc. v. United States, 935 F.2d 1271 (Fed. Cir. 1991) .....................................................19
Harris v. Nelson, 394 U.S. 286 (1969) ......................................................................................28
Henke v. United States, 60 F.3d 795 (Fed. Cir. 1995) ................................................................19
In re March, 988 F.2d 498 (4th Cir. 1993).................................................................................29
Keirton, Inc. v. United States, 600 F. Supp. 3d 1270 (Ct. Int’l Trade 2022) ........................... 4, 16
McNutt v. Gen. Motors Acceptance Corp., 298 U.S. 178 (1936) ................................................19
Miller & Co. v. United States, 824 F.2d 961 (Fed. Cir. 1987). ...................................................26
Nat’l Fisheries Inst., Inc. v. United States Bureau of Customs & Border Prot., 637 F.
  Supp. 2d 1270 (Ct. Int’l Tr. 2009) ..........................................................................................22
Nix v. Billington, 448 F.3d 411 (D.C. Cir. 2006)........................................................................35
Norcal/Crosetti Foods v. United States, 963 F.2d 356 (Fed. Cir. 1994)......................................21
Norsk Hydro Can., Inc. v. United States, 472 F.3d 1347 (Fed. Cir. 2006). .................................18
Peacock v. Thomas, 516 U.S. 349 (1996) ..................................................................................35
Price v. Johnston, 334 U.S. 266 (1948) .....................................................................................28
Reynolds v. Roberts, 207 F.3d 1288 (11th Cir. 2000) .................................................................35
Scripps-Howard Radio, Inc. v. F.C.C., 316 U.S. 4 (1942)..........................................................32
Shillitani v. United States, 384 U.S. 364 (1966).........................................................................35
Shinyei Corporation of America v. United States, 355 F.3d 1297 (Fed. Cir. 2004) ......... 22, 26, 30
Treez, Inc. v. DHS, 2023 U.S. Dist. LEXIS 110823 (N.D. Cal. 2023) ........................................17
United States v. Islip, 22 C.I.T. 852 (1998)................................................................................19
United States v. N.Y. Tel. Co., 434 U.S. 159 (1977). ..................................................................29
Wood v. Santa Barbara Chamber of Commerce, Inc., 705 F.2d 1515 (9th Cir. 1983) ................29
Wyatt ex rel. Rawlins v. Rogers, 92 F.3d 1074 (11th Cir. 1996) .................................................35
Zenith Elecs. Corp. v. United States, 884 F.2d 556 (Fed. Cir. 1989) ..........................................30
Zenith Radio Corp. v. United States, 518 F. Supp. 1347 (Ct. Int’l Tr. 1981). ...................... 28, 32
Statutes
21 U.S.C. § 1907 ................................................................................................................ passim
21 U.S.C. § 841 .................................................................................................................. passim
21 U.S.C. § 863 .................................................................................................................. passim
28 U.S.C. § 1331 .......................................................................................................................11
28 U.S.C. § 1581 ................................................................................................................ passim
28 U.S.C. § 1585 ................................................................................................................. 23, 29
28 U.S.C. § 1651 ................................................................................................................. 28, 29

                                                                   iv
        Case 1:25-cv-00036-GSK                        Document 25                 Filed 06/06/25              Page 5 of 42




28 U.S.C. § 2201 ..................................................................................................................... 2, 9
28 U.S.C. § 2643 ................................................................................................................. 23, 30
8 U.S.C. § 1182.................................................................................................................. passim
8 U.S.C. § 1225.........................................................................................................................33
Agriculture Improvement Act of 2018, Pub. L. No. 115-334, 132 Stat. 4490 (2018) ....................3
Other Authorities
Black’s Law Dictionary (11th ed. 2019) ....................................................................................21
Customs Headquarters Ruling H327540 of March 7, 2024 .................................................... 5, 16
H.R. Rep. No. 96-1235 (1980)...................................................................................................27
New York Customs Ruling N335656 of November 9, 2023...........................................................5
New York Customs Ruling N340357 of June 18, 2024. ................................................................5
New York Customs Ruling N347153 of April 15, 2025 .................................................................5
New York Customs Ruling N347161 of April 15, 2025 .................................................................5
New York Customs Ruling N348157 of May 1, 2025 ....................................................................5
Regulations
19 C.F.R. § 177.9 ........................................................................................................................5
8 C.F.R. § 214.2 ........................................................................................................................15
8 C.F.R. § 235.4 ..........................................................................................................................6




                                                                     v
      Case 1:25-cv-00036-GSK           Document 25         Filed 06/06/25       Page 6 of 42




UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. GARY S. KATZMANN
-------------------------------------------------------------------- X
ETEROS TECHNOLOGIES USA, INC.,                                        :
                                                                      :
                 Plaintiff,                                           :
                                                                      :
                 v.                                                   : Case No. 25-cv-36-GSK
                                                                      :
UNITED STATES OF AMERICA,                                             :
                                                                      :
                                                                      :
                 Defendant.                                           :
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     PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
                                DISMISS

       Plaintiff, Eteros Technologies USA, Inc. (“Plaintiff” or “Eteros”), by and through

undersigned counsel, hereby responds in opposition to the motion to dismiss this action filed by

Defendant, United States of America (“Defendant”). This case arises from Defendant’s improper

retaliation against Eteros and its executives following this Court’s 2022 judgment in Eteros

Technologies USA, Inc. v. United States, 592 F. Supp. 3d 1313 (Ct. Int’l Tr. 2022) (“Eteros I”),

which held that the importation of cannabis-related equipment by state-authorized persons is

exempt from federal prohibition under 21 U.S.C. § 863(f)(1). Despite that binding judgment, CBP

has responded by retaliating directly against Eteros’s Canadian executives—subjecting them to

immigration removals, lifetime bans from entering the country, NEXUS revocations, and related

adverse immigration actions—on the pretext that Eteros’s cannabis-related equipment

importations into the U.S. (determined lawful by this Court) constitute aiding and abetting

narcotics trafficking under 21 U.S.C. §§ 841 and 1907. These actions are not only factually

baseless, but legally impermissible: they rest on a deliberate perversion of stipulations made in

Eteros I, a neutering of this Court’s holding and the governing statute, and they undermine the
      Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25       Page 7 of 42




lawful administration and enforcement of the Court’s final, unappealed, judgment.

       Eteros brings this action under the Declaratory Judgments Act, 28 U.S.C. § 2201 et seq.,

and asserts that this Court has jurisdiction to hear it under 28 U.S.C. § 1581(i)(1)(D) to prevent

further retaliation and preserve the judicial integrity of this Court by vindicating the core principle

that federal agencies may not evade, punish, or reverse lawful judicial decisions through

extrajudicial enforcement mechanisms. Defendant’s motion to dismiss, which attempts to recast

this case as an immigration matter outside this Court’s competence, mischaracterizes the nature of

the relief sought and the legal wrong at issue. As set forth below, the Court possesses jurisdiction

under § 1581(i)(1)(D), and Plaintiff states a claim upon which declaratory relief may be granted.

                                         BACKGROUND

       Eteros Technologies USA, Inc. (“Eteros”) is a U.S. company that manufactures and

distributes specialized agricultural equipment, including machinery used in cannabis processing,

through operations in the U.S., and in coordination with its Canadian sister company, Eteros

Technologies Inc. (“Eteros Canada”).

I.     Federal Prohibition of “Drug Paraphernalia” and the Personal Authorization
       Exemption– 21 U.S.C. § 863(f)(1)

       Congress has established a single federal prohibition on “drug paraphernalia” in the

Controlled Substances Act (“CSA”). See Mail Order Drug Paraphernalia Control Act of 1986, 21

U.S.C. § 863. In particular, § 863(a) makes it unlawful for any person “to sell or offer for sale

drug paraphernalia,” “to use the mails or any other facility of interstate commerce to transport

drug paraphernalia,” or “to import or export drug paraphernalia.” Apart from § 863, no federal

law specifically prohibits drug paraphernalia, or conduct relating thereto.

       Congress built an exemption into § 863 that limits the reach of this federal ban.

Section 863(f)(1) provides that “[t]his section shall not apply to … any person authorized by local,

                                                  2
      Case 1:25-cv-00036-GSK           Document 25         Filed 06/06/25       Page 8 of 42




State, or Federal law to manufacture, possess, or distribute such items.” In other words, if a person

is “authorized” under state, local, or federal law to engage in one of the listed activities with the

items, then none of § 863’s provisions – including the importation ban in § 863(a)(3) – apply.

       Accordingly, depending on its use, cannabis-related equipment 1 could be considered

“drug paraphernalia” under federal law (see 21 U.S.C. § 863 (d)), but Congress has expressly

exempted from federal prohibition “any person authorized by local, State, or Federal law” to

possess or distribute such items. 21 U.S.C. § 863 (f)(1) (emphasis added). Section 863(f)(1) thus

operates as a personal exemption that attaches to individuals, corporate or natural persons, U.S.

and foreign citizens alike. See Eteros Techs. USA, Inc. v. United States, 592 F. Supp. 3d 1313,

1321 (Ct. Int’l Tr. 2022) (“Eteros I”) (citing the Government’s brief, the CIT observed: “While it

is true that ‘subsection 863(f)(2) exempts an entire category of items, while subsection

863(f)(1) … applies to … person[s],’ Def.’s Br. at 17-18.” (emphasis added)). In other words,

state-authorized cannabis-related merchandise and conduct attendant thereto (e.g., manufacture,

possession, distribution) is legal under federal law. Eteros’s products fall squarely within

§ 863(f)(1)’s exemption—confirming there is nothing “illicit” about Eteros’s business that could

constitute narcotics trafficking.2


       1
         Notably, “cannabis” is an umbrella term encompassing both federally legal “hemp” and
“marijuana,” which remains a Schedule I controlled substance at the federal level. The Agriculture
Improvement Act of 2018, Pub. L. No. 115-334, 132 Stat. 4490 (2018) (the “2018 Farm Bill”)
redefined “hemp” to exclude it from the definition of “marijuana” if it contains less than 0.3%
THC. Equipment for processing low THC “hemp” is not considered “drug paraphernalia” because
no controlled substances are involved; even though, the exact same equipment could be used with
above 0.3% THC marijuana. In fact, the same cannabis crop will always originate as legal hemp
without any detectable THC levels.
       2
         See 21 U.S.C. § 1907(3) (defining “narcotics trafficking” as encompassing any “illicit”
activity to cultivate, produce, manufacture, distribute, sell, finance, or transport controlled
substances). Eteros’s conduct is not “illicit” within the meaning of § 1907 because it is expressly
authorized by federal law when undertaken by a “person authorized by local, State, or Federal law”
pursuant to 21 U.S.C. § 863(f)(1). Both this Court and CBP have repeatedly confirmed that imports
                                                  3
      Case 1:25-cv-00036-GSK          Document 25         Filed 06/06/25      Page 9 of 42




       A.      Eteros I – CIT Confirms that “Persons Authorized” Under 21 U.S.C.
               § 863(f)(1) Are Exempt from Federal Prohibitions Otherwise Attendant to
               “Drug Paraphernalia.”

       In Eteros Techs. USA, Inc. v. United States, 592 F. Supp. 3d 1313 (Ct. Int’l Trade 2022)

(“Eteros I”), this Court squarely held that any person authorized under state law to engage in the

conduct described in 863(f)(1)—i.e., to manufacture, possess, or distribute the items otherwise

prohibited by § 863(a)—is not subject to federal prohibitions attendant to “drug paraphernalia.”

Id. at 1321. In Eteros I, the company challenged CBP’s exclusion of its merchandise – components

of a machine used to process cannabis plant material – which CBP had treated as prohibited drug

paraphernalia under the CSA, 21 U.S.C. § 863. The CIT held that Eteros is a person “‘authorized’

under 21 U.S.C. § 863(f)(1) and thereby exempted in Washington State from subsection 863(a)’s

prohibition on importing drug paraphernalia.” Id. at 1329. Accordingly, the Court ruled that “21

U.S.C. § 863 does not justify seizure or forfeiture of Eteros’ merchandise,” and ordered CBP to

release the goods.

       The Government did not appeal Eteros I, nor a similar decision in Keirton, Inc. v. United

States, 600 F. Supp. 3d 1270 (Ct. Int’l Trade 2022), which reaffirmed this interpretation.3 Indeed,

in March 2024, CBP Headquarters issued Customs Headquarters Ruling H327540 of March 7,



of cannabis-related merchandise destined for states that have legalized cannabis, and undertaken
by persons authorized under state law, are exempt from federal prohibitions on drug paraphernalia,
and attendant consequences. Eteros I, 592 F. Supp. 3d 1313 (Ct. Int’l Trade 2022); Keirton, Inc.
v. United States, 600 F. Supp. 3d 1270 (Ct. Int’l Trade 2022); CBP HQ Ruling H327540 (Mar. 7,
2024). Because Eteros’s operations have been designed to always fall squarely within this
exemption, and because the only potentially applicable federal prohibition (§ 863) is rendered
inapplicable by express statutory exemption (§ 863(f)(1)), there is no basis to characterize
Plaintiff’s conduct—or the conduct of its officers—as “illicit.” CBP knows this.
       3
          Both Eteros I and Keirton stress the personal nature of the 863(f)(1) exemption, which
turns on whether the person is authorized under state law. The exemption is personal and
affirmative: a “person authorized” under state law and engaging in compliant § 863(f)(1) conduct
is exempt not only from § 863’s import ban, but also from related federal enforcement under
Title 21, including criminal designations such as “narcotics trafficking.”
                                                4
      Case 1:25-cv-00036-GSK         Document 25        Filed 06/06/25       Page 10 of 42




2024, formally acknowledging that importing state-authorized cannabis paraphernalia is exempt

from federal prohibitions. 4 As no other federal law prohibits conduct relating to “drug

paraphernalia,” once the § 863(f)(1) exemption applies, there is no federal authority available to

criminalize or punish conduct compliant with § 863(f)(1).

       This sequence provided that Eteros’s import activities and U.S. operations are entirely

lawful under federal law as interpreted by the CIT, and as adopted by CBP. And yet, despite these

clear pronouncements, Defendants have treated Eteros and its personnel as illicit drug traffickers

under 21 U.S.C. §§ 841 and 1907, inadmissible under the Immigration and Nationality Act,

codified at 8 U.S.C. § 1182 (“INA § 212”), and specifically INA § 212(a)(2)(C), and leading to

the dispute now before this Court.

II.    CBP’s Retaliatory Actions Against Eteros’s Executives (2024-2025).

       Despite the facts detailed above, CBP has taken repeated adverse actions against Eteros’s

executives—who are Canadian nationals—when they have attempted to travel to the United States



       4
        CBP’s own Headquarters Ruling aligns with the CIT judgments in Eteros I and Keirton.
In Customs Headquarters Ruling H327540 of March 7, 2024, CBP explained:
       Recently, the Court of International Trade (CIT) in Eteros Technologies USA. Inc.
       v. United States examined the 21 U.S.C. § 863(f)(1) exception... The CIT discussed
       cannabis drug paraphernalia being directly imported into a state that has legalized
       cannabis use to a consignee in the same state. The court determined
       “…authorization by one legislative body – be it local, state, or federal – to engage
       in one of the enumerated activities... would be sufficient to trigger the (f)(1)
       exemption’s applicability.” …. Thus, drug paraphernalia that is destined for states
       that have legalized cannabis may be exempted under 21 U.S.C. § 863(f)(1).

Id. (emphasis added); see also e.g., New York Customs Ruling N335656 of November 9, 2023, New
York Customs Ruling N347153 of April 15, 2025, New York Customs Ruling N347161 of April 15,
2025, New York Customs Ruling N348157 of May 1, 2025, New York Customs Ruling N340357 of
June 18, 2024. The CBP HQ Ruling’s language acknowledges that the Eteros I decision applies
broadly to “persons authorized” by state law in states other than Washington that have “legalized
cannabis.” Customs rulings constitute the official position of CBP, and are binding on all CBP
officers. 19 C.F.R. § 177.9(a).

                                                5
     Case 1:25-cv-00036-GSK           Document 25        Filed 06/06/25      Page 11 of 42




either for personal reasons or pursuant to L-1A work visas.

       A.      Retaliation Against Eteros CEO Aaron McKellar: Issuance and Vacatur of
               Expedited Removal Order and Subsequent Vacatur of Same.

               1.     Expedited Removal of Eteros CEO Aaron McKellar.

       Plaintiff’s CEO, Aaron McKellar,5 was subjected to an expedited removal order (“ERO”)

at the Port of Blaine, WA,6 and barred from reentry for five years. On October 4, 2024, McKellar

attempted to enter the United States at the Blaine, Washington port of entry using his NEXUS

trusted traveler card, intending to make a short personal trip. See Declaration of Aaron McKellar

(January 31, 2025), ECF 13-2 (“McKellar First Decl.”), at ¶ 3. CBP officers pulled him aside for

secondary inspection and intensely questioned McKellar about Eteros’s business, suggesting that

Eteros “facilitated” illegal marijuana production. (id. ¶ 5). McKellar explained that Eteros’s

activities are entirely lawful and even referenced the CIT’s 2022 decisions in Eteros and Keirton

confirming the legality of importing Eteros’s products in Washington State. CBP dismissed 21

U.S.C. § 863(f)(1) and the CIT’s seminal decisions, claiming incorrectly that “the exemption

doesn’t apply to people” (id. ¶ 8)—a view that, notably, contradicts the text of § 863(f)(1), which

exempts “persons authorized” by state law.

       After several hours of hostile questioning, McKellar withdrew his application for

admission and sought to return to Canada, as permitted by regulation, 8 C.F.R. § 235.4. See

McKellar First Decl. ¶ 10. CBP refused and instead issued an ERO against McKellar. The ERO



       5
          Aaron McKellar is a Canadian citizen and the founder and CEO of Eteros Technologies
Inc., and Plaintiff Eteros Technologies USA, Inc. Until recently, McKellar frequently travelled to
the U.S. to oversee Eteros’s U.S. operations. He holds a valid L-1A intracompany transferee visa
(valid through April 30, 2026) and, until last year, was a member of the NEXUS trusted traveler
program (McKellar First Decl. ¶¶ 2, 4, 11).
       6
          Blaine, WA, is the same port of entry that was responsible for the unlawful exclusion of
Plaintiff’s merchandise in Eteros I.

                                                6
      Case 1:25-cv-00036-GSK             Document 25    Filed 06/06/25      Page 12 of 42




claimed McKellar was inadmissible not as a controlled substance trafficker under INA

§ 212(a)(2)(C)(i)—which would have afforded McKellar the right to a hearing before an

immigration judge for adjudication of the legal issue underlying this dispute. Rather, the ERO

was issued under INA § 212(a)(7)(A)(i)(I) (insufficient documentation), likely because document

deficiency determinations are not reviewable legal issues. 7 McKellar’s ERO carried an automatic

five-year ban on reentry and resulted in the immediate revocation of McKellar’s NEXUS

membership. CBP officers warned McKellar that any attempt to re-enter the U.S. would be a

federal felony (McKellar First Decl. ¶ 11). CBP then removed McKellar back to Canada that same

day, on October 4, 2024.

                2.      Defendant Gill Denies ERO Reconsideration.

        Through counsel, McKellar promptly filed a motion for reconsideration with the Area Port

Director at Blaine, Defendant Harmit S. Gill, seeking vacatur of the ERO (McKellar First Decl.

¶ 13). The motion documented multiple errors and abuses of discretion in the removal process,

including CBP’s refusal to allow withdrawal of McKellar’s application for admission, the

validity/sufficiency of travel documents and lack of questions/allegations relating to INA

§ 212(a)(7), and the legally incorrect premise that Eteros’s lawful business made McKellar an

illicit narcotics trafficker (id. ¶¶ 13-14).

        Recall that, initially, the removal was nominally on alleged insufficient documentation

grounds, but after Mr. McKellar sought administrative reconsideration by the Port Director for the

Port of Blaine, WA, CBP shifted its rationale entirely. In a written “Denial of Reconsideration”

dated November 12, 2024 (Compl. at ¶ 30; id. at Ex. C, ECF 21-1 at 118), the Area Port Director



        7
         This in an artifice as McKellar did have all documents needed to enter the United States
and presented same to CBP.

                                                7
     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25       Page 13 of 42




explicitly accused Eteros and McKellar of “aiding and abetting the narcotics trafficking of

marijuana in the United States,” in violation of 21 U.S.C. § 841.8

       Crucially, the Port Director’s justification for imposing the ERO and five-year ban rested

entirely on the facts from the Eteros I case. Indeed, CBP’s decision relied entirely on Eteros’s

stipulation made “in the lawsuit Eteros Technologies USA, Inc. v. United States argued before the

[CIT]” that its imported merchandise met the federal definition of drug paraphernalia. CBP

asserted that, “[b]y stipulating that their products are drug paraphernalia, Eteros has demonstrated

that they are knowingly and intentionally contributing to the proliferation of the marijuana industry

in the United States and are therefore in violation of 21 U.S.C. § 841.” (Emphasis added). In CBP’s

view, the CIT’s favorable ruling “simply granted [Eteros] an exemption from the importation

prohibitions in Title 21 U.S.C. § 863,” and “does not determine that [Eteros’s] business was

outside the scope of federally illegal marijuana production.” See Compl. Ex. C, ECF 21-1 at 118.

The Port Director further claimed that the CIT’s judgment “solely addressed the import

restrictions” on drug paraphernalia and “has no bearing on the federal legality or immigration

consequences” of Eteros’s involvement in the cannabis industry. Therefore – CBP concluded – the

CIT ruling “does not form a basis to argue that Mr. McKellar is admissible” to the United States.9

In sum, CBP treated the litigation stipulation from Eteros I as an admission of involvement in

illicit drug trafficking, and on that basis found “reason to believe” the executives were traffickers,


       8
          CBP found that McKellar was inadmissible, not under INA § 212 (a)(7) (as had been
asserted in the October 4, 2025 ERO), but instead, under INA § 212(a)(2)(C)(i) because of “the
involvement of Eteros in the production of marijuana and the proliferation of the marijuana
industry.” Compl. Ex. C.
       9
          This is flatly incorrect. To avoid needless discovery and debates about whether the subject
merchandise meets the incredibly broad definition of “drug paraphernalia” under § 863(d),
Plaintiff “Stipulated for the purpose of the litigation that the Subject Merchandise satisfies the
federal statutory definition of "drug paraphernalia" under 21 U.S.C. § 863(d)[,]” Eteros I, 592 F.
Supp. 3d at 1319, while arguing that its importation was lawful under an exemption in § 863(f)(1).

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     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25       Page 14 of 42




rendering them inadmissible under INA § 212(a)(2)(C)(i) (8 U.S.C. § 1182(a)(2)(C)(i)). 10

       Plaintiffs filed this action to seek a declaratory judgment concerning whether, based on the

pleadings in this case and record developed in this Court’s prior Eteros I decision, Eteros can be

held to be in violation of 21 U.S.C. §§841 and 1907.

               3.      Eteros Files Unrelated Actions in the U.S. Court of International Trade
                       and the U.S. District Court for the Western District of Washington

       These developments prompted Eteros to file two related lawsuits in January 2025: (1) this

action seeking declaratory relief; and (2) an action in federal district court (W.D. Wash. No. 2:25-

cv-00181) on behalf of Eteros and Mr. McKellar seeking injunctive and declaratory relief.

                       a.      Eteros Technologies USA Inc. v. United States, CIT Case
                               Number 25-36

       In this CIT action, Eteros invokes the Court’s residual jurisdiction under 28 U.S.C.

§ 1581(i), and the Declaratory Judgment Act, 28 U.S.C. § 2201, seeking a declaration that its

importation of state-authorized cannabis-related equipment does not violate federal prohibitions

on narcotics trafficking and distributing controlled substances (i.e. does not constitute a violation

of laws under Title 21, particularly 21 U.S.C. §§ 841, 1907). Eteros alleges that CBP’s pretextual

use of §§ 841 and 1907 to bar its executives is unlawful and directly aimed to undermine the CIT’s

Eteros I and Keirton decisions. Eteros also pleads that CBP’s actions were taken in retaliation for

its victory in Eteros I, effectively punishing Eteros and its personnel for engaging in a lawful trade

and for prevailing in litigation. In response, the Government has moved to dismiss the CIT action,

arguing that the case is fundamentally about immigration law (the INA) rather than a customs or

import matter, and thus lies outside the CIT’s jurisdiction. The Government contends that § 1581(i)


       10
          To be clear, Eteros’ is not a plant-facing business. The company does not come into
contact with marijuana. To be equally clear, Eteros’ products are used with many nationally legal
plant products, such as hemp and lavender.

                                                  9
      Case 1:25-cv-00036-GSK             Document 25        Filed 06/06/25      Page 15 of 42




cannot be invoked because the action “does not arise out of an import transaction” or any law

providing for tariffs or embargoes, but instead involves “immigration-related matters” reserved to

the district courts.11 The Government further argues that since the 2022 CIT judgment, Eteros has

been able to import its products without interference; in its view, CBP’s targeting of the executives

did not literally “exclude” any merchandise in violation of the court’s order, and thus the Eteros I

judgment is not being directly flouted.

          The Government’s claim is baseless; this action does in fact arise out of an import

transaction – the one involved in this Court’s 2022 Eteros I decision – a matter elevated to this

Court pursuant to its 28 U.S.C. § 1581(a) “denied protest” jurisdiction. It relates directly to the

“administration and enforcement” of a matter arising out of this Court’s §1581(a) jurisdiction.

CBP has elected to administer this Court’s decision by allowing importation of Eteros’ equipment,

but taking retaliatory action against Eteros and its executives by accusing them of criminal activity

arising out of their lawful importation activities.

                          a.     Eteros Technologies USA Inc. and Aaron McKellar v. United
                                 States of America, et al., W.D. Wash. Case No. 25-181.

          Also on January 29, 2025, Plaintiffs Eteros and McKellar filed a Complaint for injunctive

and declaratory relief in Eteros Techs. USA Inc., et al. v. United States, et al, No. 2:25-cv-00181

(W.D. Wash.), asking the U.S. District Court for the Western District of Washington to:

          (1) vacate the October 4, 2024 ERO and resulting five-year entry ban;

          (2) declare unlawful and set aside Defendants’ de facto policy of treating individuals

               involved in authorized and federally exempt cannabis commerce as “illicit traffickers”

               under INA § 212(a)(2)(C);


          11
               Plaintiff’s Complaint seeks merely declaratory judgment and no immigration-related
relief.

                                                   10
     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25      Page 16 of 42




        (3) enjoin Defendants from engaging in further retaliatory or unlawful actions against

             Plaintiffs (such as unwarranted inadmissibility findings, visa cancellations, or NEXUS

             revocations); and

        (4) order affirmative relief including reinstatement of McKellar’s NEXUS membership.

The WAWD action was brought under 28 U.S.C. § 1331, the Administrative Procedure Act (5

U.S.C. §§ 701–706), the Declaratory Judgment Act (28 U.S.C. §§ 2201–2202), and the United

States Constitution. 12



        12
          In accordance with WAWD local rules requiring the filing of a notice of pendency of
other actions, Eteros filed a LCR 3(h) Notice (see WAWD Case No. 25-181, ECF No. 7)
explaining the relationship of the two cases, as follows:
        Brief Description of Action in the U.S. Court of International Trade and Statement
        of the Relationship Between the Two Cases: Eteros commenced CIT Case No. 25-
        36 pursuant to the CIT’s exclusive jurisdiction, 28 U.S.C. § 1581(i)(1)(D), which
        grants the CIT exclusive jurisdiction to entertain actions concerning the
        “administration and enforcement with respect to the matters referred to in …
        subsections (a) – (h) of this section,” and particularly 28 U.S.C. § 1581(a), which
        is the CIT’s protest jurisdiction and which served as the jurisdictional basis for the
        CIT’s prior decision in Eteros Technologies USA, Inc. v. United States, 592 F.
        Supp. 3d 1313 (Ct. Int’l Trade 2022).
        Eteros seeks a determination from the CIT that when it imports merchandise in
        accordance with 21 U.S.C. § 863(f)(1), and pursuant to the CIT’s prior decision in
        Eteros Technologies USA, Inc. v. United States, 592 F. Supp. 3d 1313 (Ct. Int’l
        Trade 2022) (arising under the CIT’s exclusive 28 U.S.C. §1581(a) “protest denial”
        jurisdiction), the company and its employees are neither engaged in “narcotics
        Trafficking” in violation of 21 U.S.C. § 1907, nor are they engaged in aiding and
        abetting narcotics trafficking in violation of 21 U.S.C. § 841.
        The CIT previously ruled that Eteros’ importation of cannabis-related merchandise
        in accordance with 21 U.S.C. § 863(f)(1) is not prohibited, nor contrary to federal
        law, when state law authorizes persons to possess, distribute, or manufacture
        cannabis-related merchandise. The current CIT action thus invokes that court’s
        exclusive “residual” jurisdiction regarding the “administration and enforcement” of
        matters decided under its protest jurisdiction exercised in Eteros, supra, seeking a
        declaratory judgment “declar[ing] the rights and other legal relations” of Eteros
        concerning its importations of cannabis-related merchandise under 21 U.S.C. §
        863(f)(1), and whether engaging in the § 863(f)(1) lawful conduct constitutes a per
        se violation of other sections of Title 21, particularly 21 U.S.C. §§ 841 and 1907
                                                 11
     Case 1:25-cv-00036-GSK           Document 25         Filed 06/06/25       Page 17 of 42




While the government here suggests that Eteros’s concerns can be addressed in the Western

District of Washington action, the Department of Justice has moved to dismiss that action as well.

               4.      CBP Vacates McKellar’s Removal Order but Maintains its Legal
                       Position.

       In April 2025, faced with litigation in two federal courts, and after unsuccessful settlement

negotiations in the WAWD action, Defendants took surprising and sudden corrective actions in

an attempt to shield CBP’s unlawful conduct from judicial review in the Western District.

       On the same day the DOJ filed its motion to dismiss the WAWD action, Plaintiff learned

(via the motion papers) that CBP had unilaterally vacated 13 the October 2024 removal order against

Eteros’s CEO—thereby purporting to erase his five-year reentry ban—the Government promptly

moved to dismiss the case as moot.

       Yet just days later, on April 29, 2025, CBP again barred Eteros’s CEO, Aaron McKellar,

from U.S. entry on the very same grounds, INA § 212(a)(2)(C) (which relies on the narcotics

trafficking statutes in Title 21, 21 U.S.C. § 841, 1907) and § 212(a)(7), demonstrating that the

harm to Eteros persists despite the removal order’s vacatur. 14 The Government’s motion papers



       (relating to narcotics trafficking), as asserted by U.S. Customs and Border
       Protection in the unlawful actions taken against Eteros and Mr. McKellar.
       The current CIT action seeks declaratory relief only. It does not request the CIT to
       provide any relief related to any immigration decision or action taken against
       Eteros, Mr. McKellar, or other affected Eteros executives and employees. Such
       matters are not encompassed by the CIT’s subject matter jurisdiction.
       13
           In a letter dated April 18, 2025, CBP’s Acting Area Port Director in Blaine wrote that,
upon further consideration, the Port had decided “to vacate the Order of Expedited Removal in
[McKellar’s] case.” See CBP Letter of April 18, 2025, Gov’t Br. at Ex. 3, ECF No. 24-2; see also,
McKellar 2d Decl. at ¶ 3. The notice stated that CBP would update its records to reflect that
McKellar’s October 4, 2024 ERO was vacated and that his departure from the U.S. that day would
instead be recorded as a “withdrawal” of his application for admission. Id. In effect, CBP
unilaterally rescinded the ERO and the attendant five-year ban prohibiting McKellar’s entry.
       14
          A finding by CBP that a foreign citizen is a narcotics trafficker under 21 U.S.C. §§ 841
or 1907 results in a lifetime ban from travel to the U.S. under 8 U.S.C. § 1182(a)(2)(C). Thus, even
                                                12
     Case 1:25-cv-00036-GSK           Document 25        Filed 06/06/25       Page 18 of 42




sought dismissal of the WAWD action with prejudice, asserting that the district court lacked

subject-matter jurisdiction to review CBP’s actions—thus foreclosing any remedy. 15 These sleight

of hand litigation tactics exemplify a broader pattern of CBP acting with impunity while DOJ

thwarts judicial review by procedural maneuvers, effectively shielding retaliatory conduct from

Article III scrutiny. In such circumstances, it is this Court’s duty to exercise its exclusive

jurisdiction under 28 U.S.C. § 1581(i)(1)(D), which must attach here to vindicate its prior

judgment and restore the lawful administration of the import laws as previously adjudicated in

Eteros I.

               5.      CBP Refuses McKellar’s April 29, 2025, Attempted U.S. Entry.

       Just days after disingenuously claiming the WAWD case was mooted by CBP’s ERO

vacatur, Defendant again barred McKellar from entering the United States on the very same

grounds—this time citing both INA §§ 212(a)(2)(C) and (a)(7). On April 29, 2025, McKellar

appeared for U.S. preclearance at Vancouver International Airport, seeking to board a flight to

Las Vegas, Nevada (See Second Declaration of Aaron McKellar (June 6, 2025) (“McKellar

Second Decl.”), at ¶ 4).16 CBP officers at the airport were presented with a packet of information


without a formal removal order, CBP has imposed a de facto ban against Eteros’s executives from
entering the U.S.
       15
           More specifically, the Government’s Motion to Dismiss the WAWD action argued that
because McKellar’s ERO had been vacated, Plaintiffs’ claims were now moot. See e.g., WAWD
Case No. 25-181, ECF 19 at 8. The Government’s motion claimed that, even aside from mootness,
this Court lacks subject-matter jurisdiction over Plaintiffs’ action and the case must be dismissed.
Plaintiffs’ asserted that Defendants’ belated vacatur of the ERO did not resolve the underlying
dispute or remedy the serious and ongoing harm to Eteros and its executives. CBP has never
disavowed its position that Eteros’s employees are inadmissible “drug traffickers” under INA
§ 212(a)(2)(C), as informed by 21 U.S.C. §§ 841, 1907.
       16
          The Government’s brief misleadingly refers to “George McKellar,” perhaps to suggest
that Aaron McKellar acted surreptitiously or somehow sought to conceal his identity. In fact,
McKellar presented himself openly to CBP officers at Vancouver International Airport
preclearance, fully identifying himself as Aaron McKellar and submitting a packet of materials
documenting his prior encounters with CBP, the litigation in Eteros I, and relevant legal
                                                13
     Case 1:25-cv-00036-GSK           Document 25        Filed 06/06/25       Page 19 of 42




disclosing relevant documents related to McKellar’s immigration saga. CBP reviewed the

documents, subjected McKellar to secondary inspection and questioning, and ultimately

determined that he was inadmissible to the United States under INA § 212(a)(2)(C) (i.e., “reason

to believe” involvement in illicit drug trafficking) and refused him entry. This time, CBP refused

admission but allowed McKellar to “withdraw” his application for admission and return to

Canada (as the encounter occurred on Canadian soil, an ERO could not be issued) (McKellar

Second Decl. ¶¶ 4-7). The result was the same: McKellar was once again excluded from the U.S.

based on the continued implementation of Defendants’ de facto policy treating Eteros’s state-

authorized and federally exempt business as equivalent to drug trafficking.

       As of this filing, McKellar remains unable to enter the U.S. based on Defendants’

misapplication of 21 U.S.C. §§ 841 and 1907, and INA § 212(a)(2)(C), and his NEXUS trusted

traveler privileges remain revoked (McKellar Second Decl. ¶ 11). Eteros’s U.S. operations

continue to suffer from the absence of its CEO and the near-guarantee of similar actions against

other Eteros personnel (see McKellar First Decl ¶ 18). As CBP instructed McKellar in their

encounter in October 2024, the agency clearly meant what it said when it posited that U.S.

customers of cannabis processing equipment should buy from U.S. companies and citizens

(McKellar First Decl. ¶ 9).

       B.      Retaliation Against Other Eteros Executives.

               1.     Amanda James, Director of Strategy & Business Development at
                      Eteros: Denial, Grant, and Notice of Intent to Revoke Her L-1A Work
                      Visa.

       As noted in the Complaint (ECF 2), Eteros’s Director of Strategy & Business Development,



arguments. CBP reviewed these materials in secondary inspection before nevertheless deeming
him inadmissible. See CBP Form I-275, Apr. 29, 2025, Gov’t Br. at Ex. 3, ECF No. 24-3; see also,
McKellar Second Decl. at ¶ 4.

                                                14
     Case 1:25-cv-00036-GSK           Document 25        Filed 06/06/25       Page 20 of 42




on June 11, 2024, Amanda James—a Canadian national who had for three years prior held L-1A

work visa authorization, permitting her to work in the U.S. for Plaintiff—sought to renew her L-

1A visa at the Port of Blaine, Washington. See Declaration of Amanda James (January 31, 2025),

ECF 13-3 (“James First Decl.”), at ¶ 4. CBP detained Ms. James in secondary inspection,

questioned her about her employer’s cannabis-related equipment, and repeatedly accused her of

controlled substance trafficking under 21 U.S.C. §§ 841 and 1907. CBP refused her admission,

confiscated her NEXUS card, and forwarded a recommendation to USCIS urging the denial of her

L-1A visa application. Ms. James refused to sign the CBP-prepared “Sworn Statement,” which she

maintains was inaccurate and misleading. Ms. James later withdrew her L-1A visa application due

to USCIS’s failure to process it pursuant to agency regulations. James First Decl. at ¶ 5.

       Eteros refiled Ms. James’s L-1A petition with USCIS on October 25, 2024. See

Supplemental Declaration of Amanda James (February 13, 2025), ECF 14 (“James Second

Decl.”), at ¶ 6. USCIS approved the L-1A petition on February 11, 2025, acknowledging Ms.

James’ executive role and the lawfulness of her employment as detailed in her L-1A application,

which clearly identifies her role at Eteros, the company’s machinery, and its potential use with

cannabis.

       Despite approving the petition, USCIS later issued a Notice of Intent to Revoke (“NOIR”)

dated March 28, 2025, pursuant to 8 C.F.R. § 214.2(l)(9)(iii)(A)(5), asserting that the initial

approval may have involved “gross error” due to alleged violations of federal drug laws by Eteros

and Ms. James. See Third Declaration of Amanda James (June 6, 2025) (“James Third Decl.”), at

¶ 4. The NOIR relied on the litigation in Eteros I, as well as the unsigned CBP “Sworn Statement”

from her June 11, 2024, encounter with CBP at the Port of Blaine, WA, to claim Ms. James’

employment would violate the CSA. No separate facts beyond Eteros’s business operations



                                                15
        Case 1:25-cv-00036-GSK          Document 25          Filed 06/06/25     Page 21 of 42




reviewed by this Court were cited.

         Eteros, on behalf of Ms. James, submitted a comprehensive response to the NOIR on

April 24, 2025, defending the legitimacy of Ms. James’s L 1A employment and addressing each

of USCIS’s stated concerns. Id. at ¶ 5. The response included a legal brief and extensive exhibits,

rebutting CBP allegations and providing legal arguments with authorities demonstrating the lawful

nature of Eteros’s business and refuting the claim that Ms. James’s employment with Eteros

constitutes illicit narcotics trafficking. The response cited inter alia:

    •    Eteros Techs. USA Inc. v. United States, 592 F. Supp. 3d 1313 (Ct. Int’l Trade 2022),

         holding Eteros’s imports were lawful under 21 U.S.C. § 863(f)(1);

    •    Keirton, Inc. v. United States, 600 F. Supp. 3d 1270 (Ct. Int’l Trade 2022) (reaffirming the

         Eteros decision’s interpretation of § 863(f)(1));

    •    Customs Headquarters Ruling H327540 of March 7, 2024 (adopting Eteros and applying

         the § 863(f)(1) exemption beyond Washington State);

    •    Treez, Inc. v. DHS,17 No. 22-cv-07027-RS (TSH), 2023 U.S. Dist. LEXIS 110823 (N.D.



         17
           In Treez, the U.S. District Court for the Northern District for California overturned
USCIS’s denial of an H-1B visa for a software engineer whose employer’s clients were state-
licensed marijuana dispensaries. The court held that, “while it may be true that Treez specifically
targets marijuana dispensaries as its customers, [the beneficiary’s] job responsibilities as a
software engineer are too attenuated from any conduct by third parties that violates the CSA to
warrant a conclusion that his employment comprises criminal aiding and abetting.” Id. at 7. The
Treez court held that to violate the CSA as an aider or abettor, a person must (1) commit an
affirmative act that furthers the commission of a CSA offense, and (2) do so with intent to facilitate
that offense. Id. at 5. By contrast, providing ancillary services or products to cannabis businesses,
without more, was deemed insufficient to constitute a federal crime. Id. at 6. Eteros argued by
analogy that Ms. James’s executive role in a company making general agricultural equipment is
even further removed from any actual handling of controlled substances than the conduct at issue
in Treez. She has no control or knowledge of how end-customers use the equipment (which
processes federally legal hemp or other legal plant material just as well as other forms of cannabis).
The response likened holding Eteros responsible for customers misusing its lawful products to
“holding BIC liable for every lighter used to light a joint.”

                                                  16
     Case 1:25-cv-00036-GSK           Document 25         Filed 06/06/25       Page 22 of 42




       Cal. June 27, 2023) (holding that employment tangential to cannabis commerce does not

       constitute aiding and abetting narcotics trafficking).

The response urged USCIS to withdraw the NOIR and reaffirm Ms. James’s L 1A approval. Id.

       As of the date of this filing, June 6, 2025, the NOIR remains pending and undecided. James

Third Decl. at ¶ 6. Ms. James has remained in Canada since her June 11, 2024, encounter with

CBP. Id.

               2.      Ryan Bjergso, Vice President of Operations at Eteros: NEXUS
                       Revocation.

       In May 2024, Ryan Bjergso, Vice President of Operations at Eteros—one of three Eteros

executives holding L-1A work authorization—submitted a NEXUS application and was

provisionally approved, receiving an invitation to schedule his interview. However, following the

above-described adverse actions taken against the other two L-1A visa holders, Mr. McKellar and

Ms. James, Mr. Bjergso has also now found himself in CBP’s crosshairs and has received a denial

notice for his NEXUS from CBP, despite no intervening conduct that would justify reversal of his

provisional approval. See McKellar Second Decl. at ¶ 10. This reflects an ongoing pattern of

targeted retaliation against Eteros personnel following this Court’s prior ruling in Eteros I.

       C.      Eteros’s FOIA Efforts and CBP’s Non-Compliance.

       On July 12, 2024, Eteros submitted a FOIA request to CBP seeking all records relating to

Ms. James’s June 11, 2024 border encounter (when she presented an L-1A petition at the Port of

Blaine). CBP’s FOIA office summarily closed that request as “Closed – No Documents Sent,”

claiming no records were provided, even though the FOIA portal showed responsive documents,

and it administratively closed the file without producing any records. Undeterred, on behalf of Ms.

James and fellow Eteros executive Aaron McKellar, Eteros submitted new FOIA requests in

November 2024, providing passport copies and other identifying information, and seeking records

                                                 17
     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25       Page 23 of 42




relating to Ms. James’ June 2024 encounter, as well as Mr. McKellar’s October 2025 encounter.

CBP responded by shifting and escalating its identity-verification demands in bad faith. Instead,

after insisting on letters with full name, address, and date of birth (despite already having that

information from the passport submissions), CBP then belatedly required that each request also

include place of birth—a new condition that had never been mentioned initially (and is wholly

irrelevant to a person’s ability to request documents under FOIA). This piecemeal introduction of

ever-changing requirements, rather than disclosing all purported requirements at the outset,

evidences an evasion tactic by CBP and an effort to shield evidence from Plaintiff which could be

valuable to its claims of retaliation and targeting as a result of is success in Eteros I. On February

4, 2025, CBP closed Ms. James’s FOIA request yet again as “insufficient,” falsely asserting that

she had failed to include her date of birth, even though her FOIA request plainly listed her DOB.

Ms. James promptly filed an administrative appeal, which CBP acknowledged and accepted on

February 7, 2025—ostensibly allowing the FOIA request to proceed. To date, however, CBP has

failed to produce any meaningful records in response to either Ms. James’s or Mr. McKellar’s

FOIA requests, demonstrating a persistent refusal to comply with FOIA’s statutory production

requirements.

       This pattern of obstruction, shifting standards, and ultimate non-production reveals CBP’s

persistent refusal to comply with statutory requirements, and is consistent with Defendant’s

broader campaign of retaliation and stonewalling toward Plaintiff and its personnel.

                                   STANDARD OF REVIEW

       The plaintiff bears the burden of establishing subject-matter jurisdiction by a

preponderance of the evidence. Norsk Hydro Can., Inc. v. United States, 472 F.3d 1347, 1355

(Fed. Cir. 2006). When the court’s jurisdiction is challenged, “[t]he party seeking to



                                                 18
     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25       Page 24 of 42




invoke … jurisdiction bears the burden of proving the requisite jurisdictional facts.” Former Emps.

of Sonoco Prods. Co. v. United States, 27 C.I.T. 812, 814 (2003) (citing McNutt v. Gen. Motors

Acceptance Corp., 298 U.S. 178, 189 (1936)).

       In deciding a motion to dismiss an action for lack of jurisdiction or failure to state a claim,

“the Court assumes that ‘all well-pled factual allegations are true,’ construing ‘all reasonable

inferences in favor of the nonmovant.’” United States v. Islip, 22 C.I.T. 852, 854 (1998) (quoting

Gould, Inc. v. United States, 935 F.2d 1271, 1274 (Fed. Cir. 1991)); see also Henke v. United

States, 60 F.3d 795, 797 (Fed. Cir. 1995); Cooper v. Pate, 378 U.S. 546 (1964). To survive a

motion to dismiss, a complaint must plead sufficient factual matter, accepted as true, to state a

claim that is “plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). All other facts are subject to fact-finding by the

court. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986).

                REQUEST TO INCORPORATE RECORD FROM ETEROS I

       As this Court’s jurisdiction in this action is directly connected to the administration and

enforcement of Eteros I, Plaintiff respectfully requests that the Court, pursuant to Federal Rule of

Evidence (“FRE”) 201, take judicial notice of the complete docket in Eteros I, including all

pleadings, stipulations, declarations, exhibits, and the final judgment entered therein. Plaintiff

further requests that the Court formally incorporate the entirety of that record into the record of

the present proceeding, such that all materials filed in Eteros I shall be deemed part of the record

in this case for all purposes. Incorporation of the prior record is appropriate given the centrality of

the Eteros I litigation to the claims and defenses at issue here, and will promote judicial economy

and consistency in adjudication.




                                                  19
     Case 1:25-cv-00036-GSK           Document 25        Filed 06/06/25       Page 25 of 42




                                          ARGUMENT

I.      The CIT Has Jurisdiction Under 28 U.S.C. § 1581(i)(1)(D) to Prevent CBP From
        Undermining the Administration and Enforcement of this Court’s Prior Judgment in
        Eteros I.

        CBP’s extraordinary actions against Eteros and its executives fall squarely within the

Court’s “residual” jurisdiction in 28 U.S.C. § 1581(i)(1)(D), which confers exclusive jurisdiction

on the CIT over any civil action against the United States or its agencies arising out of any law of

the United States providing for the “administration and enforcement with respect to the matters

referred to in subparagraphs (A) through (C) of this paragraph and subsections (a)–(h) of this

section.” Id. Here, Eteros’s challenge arises directly from CBP’s “administration and enforcement”

of a matter arising under 28 U.S.C. § 1581(a) – this Court’s opinion and judgment in Eteros I. But

for this Court’s ruling in Eteros I, CBP would have continued its unlawful blanket seizure and

exclusion of cannabis-related merchandise imported by persons having the legal right to do so.

And but for Eteros’s decision to challenge CBP’s unlawful conduct in this Court in Eteros I, CBP

would not have retaliated by branding Eteros’s executives as persons allegedly engaged in criminal

narcotics trafficking activity in violation of U.S.C. §§ 841 and 1907. The causal link between this

Court’s judgment and CBP’s retaliatory conduct places this case at the very heart of the

“administration and enforcement” prong of § 1581(i)(1)(D). CBP’s retaliatory measures – taken

in the wake of Eteros’s courtroom success – are calculated to thwart the administration and

enforcement of this Court’s binding judgment in Eteros I by effectively barring Eteros’s principals

from engaging in the very operations that the Court affirmed as lawful and exempt from federal

prohibition. Accordingly, the present suit lies within § 1581(i)(1)(D)’s broad grant of residual

jurisdiction.

        The definitions of “administration and enforcement” ordinarily are extremely broad.



                                                20
     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25       Page 26 of 42




“Administration” means “the practical management and direction of the executive department, or

of the public machinery or functions, or of the operations of the various organs of the sovereign.”18

“Enforcement” means “making sure a rule or standard or court order or policy is properly

followed.” 19 According to caselaw, the “administration and enforcement” provision of

“Subsection 1581(i) is a “catch-all” provision, allowing the trial court to take jurisdiction over

designated causes of action founded on other provisions of law.” Norcal/Crosetti Foods v. United

States, 963 F.2d 356, 359 (Fed. Cir. 1994). As discussed herein, this case involves both

“administration” (direction of an executive agency) and “enforcement” (making sure a court order

is properly followed).

       A.       The CIT’s § 1581(i) Residual Jurisdiction Fills the Gap to Review Whether the
                Defendant has Corrupted the Administration and Enforcement of this Court’s
                Prior § 1581(a) Judgment in Eteros I.

       CBP’s actions against Eteros’s executives are not mere immigration decisions divorced

from this Court’s jurisdiction; they are a direct attempt to enforce (or re-impose) import restrictions

that this Court has already struck down as unlawful in Eteros I. By accusing Eteros’s executives

of aiding and abetting narcotics trafficking under 21 U.S.C. §§ 841 and 1907, and summarily

removing its CEO under INA § 212 (8 U.S.C. § 1182) on that basis, CBP seeks by other means to

end the activity this Court held lawful in Eteros I. CBP is pressuring Eteros to fail as a business

by denying access to the United States by its top executives. Eteros is directly challenging CBP’s

“administration and enforcement” of the very law and judicial holding at issue in Eteros I and

directly challenges the agency’s efforts to circumvent this Court’s prior final judgment. This is

precisely the kind of claim Congress intended to fall within § 1581(i)(1)(D).



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            See Administration, Black’s Law Dictionary (11th ed. 2019).
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            Enforcement, Black’s Law Dictionary (11th ed. 2019).

                                                  21
     Case 1:25-cv-00036-GSK            Document 25          Filed 06/06/25      Page 27 of 42




       The Federal Circuit has made clear that when an importer’s suit is not attacking an

underlying trade ruling per se but rather the agency’s implementation or enforcement of that ruling,

§ 1581(i) provides jurisdiction. Shinyei Corporation of America v. United States, 355 F.3d 1297

(Fed. Cir. 2004). In Shinyei, the plaintiff did not direct its challenge at Commerce’s antidumping

review results but instead alleged that Commerce’s liquidation instructions improperly failed to

implement those results. The Federal Circuit reversed a jurisdictional dismissal and held that

§ 1581(i)(4) (now § 1581(i)(1)(D)), conferred jurisdiction over a claim that Commerce’s

erroneous instructions had thwarted the proper implementation of an import duty determination.

The Court emphasized that a challenge to the manner in which an agency carries out or refuses to

carry out a trade determination is a challenge to the “administration and enforcement” of that

determination, falling well within § 1581(i)’s ambit.

       Moreover, in Nat’l Fisheries Inst., Inc. v. United States Bureau of Customs & Border Prot.,

637 F. Supp. 2d 1270 (Ct. Int’l Tr. 2009), this Court invoked § 1581(i) jurisdiction to hold that

CBP had overstepped its role by requiring 100% bonding in addition to cash deposits, burdening

and penalizing shrimp importers with onerous bonds without evidence of higher risk, finding that

the bonding rule was an unlawful act of enforcement not reviewable elsewhere. While the

enforcement at issue in Nat’l Fisheries concerned the antidumping regime itself, this case invokes

the CIT’s § 1581(i)(1)(D)’s “administration and enforcement” jurisdiction to review another, quite

unfortunate, act of unlawful enforcement not reviewable elsewhere—i.e., the retaliation and

extrajudicial punishment of Plaintiff for its litigation success in Eteros I.

       Eteros’s claim here fits comfortably within this Court’s jurisprudence. CBP’s retaliatory

use of border enforcement tools is intended to countermand this Court’s determination that

Eteros’s goods are lawfully importable. Just as the improper liquidation instructions in and Shinyei



                                                  22
     Case 1:25-cv-00036-GSK             Document 25         Filed 06/06/25        Page 28 of 42




were subject to CIT “administration and enforcement” review under § 1581(i) for failing to adhere

to liquidation instructions, CBP’s punitive measures here are subject to CIT review because they

flout and seek to undo the effect of the CIT’s prior judgment and the business benefits it conferred

on Plaintiff. In short, Eteros is challenging CBP’s unlawful enforcement of the import laws, and

misuse of its authority, in a manner calculated to vitiate a prior § 1581(a) ruling of this Court; and

such an action “arises out of” laws providing for import restrictions and their enforcement,

squarely implicating § 1581(i)(1)(D).

        B.      Eteros Seeks Declaratory Relief to Safeguard the Court’s Prior Eteros I Ruling
                – Not to Obtain Immigration Benefits for Individual Employees Retaliated
                Against by Defendant.

        Eteros is not asking this Court to adjudicate an immigration matter or confer direct

immigration relief on its executives; the Complaint does not seek direct relief for Eteros’s

executives, nor a review of the actions against its CEO, Aaron. McKellar; nor does it ask the Court

to admit any individual into the United States over Defendants’ objection. Rather, Eteros seeks

declaratory relief to extinguish the legal theory underlying CBP’s baseless and retaliatory actions,

which will directly protect the efficacy of this Court’s judgment in Eteros I.

        The focus of this action is on CBP’s ultra vires conduct in administering and enforcing this

Court’s prior judgment in Eteros I – not on the immigration status of any particular person. That

distinction is critical. Eteros’s claim is fundamentally about the integrity of the CIT, the prior ruling

issued in Eteros I, and CBP’s daring attempt to circumvent it by retaliating against Plaintiff’s

executives. The Court can grant the requested declaratory relief within its traditional equitable

powers, including those under 28 U.S.C. § 2643, and the All Writs Act, without intruding into the

typical province of immigration courts.

        Indeed, 28 U.S.C. § 1585 confirms that this Court possesses all the remedial powers of a



                                                   23
     Case 1:25-cv-00036-GSK             Document 25          Filed 06/06/25        Page 29 of 42




district court in law and equity, enabling it to fashion appropriate relief to vindicate its jurisdiction.

Here, that means the Court can – and should – find jurisdiction to declare CBP’s administration

and enforcement of § 863(f)(1) to be in violation of this Court’s Eteros I decision, and hold that

§ 863(f)(1) conduct alone is not a per se violation of 21 U.S.C. §§ 841, 1907, and cannot support

CBP’s theory that the company is aiding and abetting narcotics trafficking. Only a judgment from

this Court can ensure that the Eteros I decision is not rendered a dead letter.

        To be clear, granting such relief would not usurp the authority of the immigration agencies

in their ordinary course; rather, it would prohibit the misuse of immigration measures as a tool to

undercut this Court’s prior judgment. Eteros’s executives are the direct mechanism by which

Eteros exercises the import rights that this Court has already confirmed in Eteros I. By

disapproving of CBP’s improper and retaliatory enforcement actions, the Court would merely be

restoring the conditions under which its original judgment can operate—i.e. allowing Eteros to

continue its lawful business without fear of extralegal reprisal by CBP, or efforts to decapitate the

leadership who drive the company’s success in the U.S. market.20 This form of relief falls well

within the Court’s jurisdiction over the “administration and enforcement” of the import laws. Just

as the Court may, for example, enjoin Customs from administering a liquidation decision that

conflicts with a prior CIT decision, it may review CBP’s retaliatory enforcement tactics that

conflict with and seek to overturn the effect of Eteros I.

        In other words, the Court is being asked to protect its own judgment and the statutory


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           CBP’s retaliatory efforts to harm Plaintiff’s U.S. operations are underscored by
comments made by CBP officers during McKellar’s October 2024 encounter: while in secondary,
one CBP officer asserted that Eteros’s customers “should buy from an American company.” Mr.
McKellar responded that Eteros is an American company, which led the Officer to reply that
Eteros’s customers “should buy from an American citizen.” As Mr. McKellar explained, Eteros is
a lawful U.S. company that employs U.S. citizens and pays U.S. taxes. See McKellar First Decl.
at ¶ 9.

                                                   24
     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25      Page 30 of 42




scheme it reviewed, not necessarily to adjudicate anyone’s right to enter the country. Viewing the

case in this proper light dispels the Government’s jurisdictional objection – the claims are about

trade enforcement, bad faith administration of this Court’s prior judgments by a defeated agency,

and the fundamental judicial authority of this Court. These are matters exclusive to this Court’s

jurisdiction, and not about immigration relief per se.

       C.      Section 1581(i)(1)(D) Is Properly Invoked to Preserve the Judicial Integrity of
               This Court and Its Prior Judgments, and to Prevent a Chilling Effect on CIT
               Litigants.

       Section 1581(i) is often described as a “catch-all” or “residual” jurisdiction, to be invoked

when no other subsection of § 1581 provides an adequate avenue for judicial review. It is “a

litigant’s port of last resort,” available only after other remedies have been exhausted or proven

manifestly inadequate. Duferco Steel, Inc. v. United States, 403 F. Supp. 2d 1281, 1285 (Ct. Int’l

Tr. 2005). That is precisely the situation here. There is no other jurisdictional path – under

§ 1581(a) or otherwise – for Eteros to obtain meaningful review of CBP’s retaliatory conduct.

Eteros cannot file a customs protest to challenge CBP’s twisted administration and enforcement

of the laws previously resolved by this Court. Nor can Eteros (or its executives), according to the

Government, pursue effective relief through the immigration courts, or a habeas action, or in

federal district courts. Indeed, absent this Court’s direct intervention, CBP’s reprisal would go

unchecked and the Court’s prior judgment would be de facto nullified. 21 Section 1581(i)(1)(D)

was tailor-made to prevent such a result – it ensures that when no alternative remedy can safeguard


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          As can be easily inferred, the viability of Eteros’s U.S. operations depended on a
favorable decision from this Court in Eteros I. The company could not have continued its US
operations if, for instance, the Court had rejected application of § 863(f)(1) and upheld CBP’s
import prohibition of its cannabis-related merchandise. CBP’s retaliation against Eteros’s
executives is meant to reassert the agency position that the conduct at issue in Eteros I is unlawful,
and although it cannot exclude Eteros’s goods, CBP has chosen a dishonorable path of punishing
Eteros’s executives to put the company out of business.

                                                 25
      Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25        Page 31 of 42




the proper administration of the import laws, or the authority of this Court’s decisions, the CIT can

step in to fill the gap

        The Government’s motion to dismiss ignores the reality that Eteros had no choice but to

invoke § 1581(i). As the Federal Circuit has instructed, the residual jurisdiction is available in

those rare cases where the normal paths of review are “manifestly inadequate.” Duferco Steel, Inc.

v. United States, 403 F. Supp. 2d 1281, 1284 (Ct. Int’l Trade 2005); Miller & Co. v. United States,

824 F.2d 961, 963 (Fed. Cir. 1987). Here, any purported alternative would be not only inadequate

but nonexistent.

        The Court would abdicate its role if it declined to hear this case, as no other tribunal can

vindicate its judgment in Eteros I. In Shinyei, for example, the importer’s only route to correct

Commerce’s mistake (after liquidation of entries) was via § 1581(i) – and the Federal Circuit held

that the CIT exercises jurisdiction in such circumstances to provide a meaningful remedy. Shinyei

Corp. of Am. v. United States, 355 F.3d 1297, 1312 (Fed. Cir. 2004). Eteros has also diligently

pursued its rights, first by winning a favorable judgment in Eteros I, and now by returning to this

Court when CBP’s retaliatory conduct threatened to eviscerate that hard-won relief. Eteros cannot

be faulted for failing to seek redress elsewhere; there simply is no other forum that can address

CBP’s campaign of retaliation for what it is. Section 1581(i)(1)(D) exists to ensure that CIT

litigants are not left remediless in exactly this type of unusual and unforeseeable scenario.

        Exercising jurisdiction in this case is not only permitted by the text of 28 U.S.C.

§ 1581(i)(1)(D), it is institutionally vital for this Court’s integrity as an Article III Court. Allowing

an executive agency to punish and intimidate a successful litigant through collateral means would

set a dangerous precedent—effectively chilling future actions invoking this Court’s jurisdiction.

If importers know that prevailing in the CIT could provoke vindictive reprisals beyond the reach



                                                   26
     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25       Page 32 of 42




of judicial review, they will think twice before ever filing suit – undermining the very purpose of

the CIT. Congress enacted § 1581(i) in large part to prevent agencies from evading judicial

scrutiny in unusual scenarios and to guarantee that trade disputes “will be heard on their merits”

in this Court. According to the House Report associated with 28 U.S.C. § 1581(i), the purpose of

the CIT’s residual jurisdiction was “to eliminate the confusion which currently exists as to the

demarcation between the jurisdiction of the district courts and the Court of International Trade.”

The House Report continues:

       This provision makes it clear that all suits of the type specified are properly
       commenced only in the Court of International Trade. The Committee has included
       this provision in the legislation to eliminate much of the difficulty experienced by
       international trade litigants who in the past commenced suits in the district courts
       only to have those suits dismissed for want of subject matter jurisdiction. The grant
       of jurisdiction in subsection (i) will ensure that these suits will be heard on their
       merits.

H.R. Rep. No. 96-1235, at 33, 47 (1980). While this case may not fit cleanly within the existing

precedent of this Court, dismissal here on jurisdictional grounds would defeat that congressional

purpose and reward CBP’s blatant end-run around this Court’s prior judgment in Eteros I. By

contrast, taking up jurisdiction and addressing the merits will reinforce the principle that no agency

is above the law or this Court’s authority in matters of international trade, and if this Court issues

a ruling concerning international trade matters in favor of a plaintiff, CBP cannot distort the

litigation proceedings and outcome to take retaliatory action against that plaintiff. The Court’s

prior judgment in Eteros I upheld the rule of law in the face of agency overreach and refusal to

honor Congressional intent; the Court now has jurisdiction – and indeed, a duty – under

§ 1581(i)(1)(D) to ensure that its prior judgment is not sabotaged by unlawful retaliation.

       Eteros’s suit squarely challenges CBP’s administration and enforcement of the import laws

(and the Court’s own ruling under those laws). No other statute forecloses review, and no other



                                                 27
     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25       Page 33 of 42




forum offers the type of declaratory relief available from this Court. Upholding jurisdiction here

will protect the integrity of the Court’s jurisprudence and send a much-needed message that

retaliatory tactics aimed at nullifying judicial relief have no place in our system. Taken in the wake

of Eteros’s courtroom success by the same agency and at the same port of entry as in Eteros I,

CBP’s retaliatory measures seek to thwart the lawful and intended administration and enforcement

of that binding judgment by effectively barring Eteros’s principals from engaging in the very

import operations that the Court affirmed as lawful. Such conduct “arises out of” a law providing

for import restrictions (the federal drug paraphernalia statute, 21 U.S.C. § 863(a)(3)) and

implicates the enforcement of this Court’s ruling in Eteros I. Accordingly, the present suit lies

within § 1581(i)(1)(D)’s broad grant of jurisdiction. The Government’s motion to dismiss for lack

of jurisdiction should be denied accordingly.

       D.      The All Writs Act Supports Jurisdiction Under § 1581(i)(1)(D) and Empowers
               the Court to Protect its Judgment in Eteros I.

               1.      Statutory Authority for Invoking the All Writs Act in this Case.

       The All Writs Act, 28 U.S.C. § 1651(a), authorizes federal courts to issue “all writs

necessary or appropriate in aid of their respective jurisdictions and agreeable to the usages and

principles of law.” This broad mandate codifies the inherent power of courts to safeguard their

jurisdiction and the integrity of their judgments. As the Supreme Court has explained, “the purpose

and function of the All Writs Act [is] to supply the courts with the instruments needed to perform

their duty, as prescribed by the Congress and the Constitution, provided only that such instruments

are ‘agreeable’ to the usages and principles of law,” Harris v. Nelson, 394 U.S. 286, 300 (1969)

(citing Price v. Johnston, 334 U.S. 266 (1948)); see also, Zenith Radio Corp. v. United States, 518

F. Supp. 1347, 1348 (Ct. Int’l Tr. 1981). Indeed, the Supreme Court:

        … has repeatedly recognized the power of a federal court to issue such commands
       under the All Writs Act as may be necessary or appropriate to effectuate and prevent
                                                 28
     Case 1:25-cv-00036-GSK             Document 25         Filed 06/06/25        Page 34 of 42




        the frustration of orders it has previously issued in its exercise of jurisdiction
        otherwise obtained: “This statute has served since its inclusion, in substance, in the
        original Judiciary Act as a ‘legislatively approved source of procedural instruments
        designed to achieve “the rational ends of law.”‘“ Harris v. Nelson, 394 U. S. 286,
        299 (1969), quoting Price v. Johnston, 334 U.S. 266, 282 (1948). Indeed, “[u]nless
        appropriately confined by Congress, a federal court may avail itself of all auxiliary
        writs as aids in the performance of its duties, when the use of such historic aids is
        calculated in its sound judgment to achieve the ends of justice entrusted to it.”
        Adams v. United States ex rel. McCann, 317 U. S. 269, 273 (1942). The Court has
        consistently applied the Act flexibly in conformity with these principles.

United States v. N.Y. Tel. Co., 434 U.S. 159, 172-73 (1977). Accordingly, when an agency’s

conduct threatens to frustrate a court’s ability to decide a case or enforce its judgment, the All

Writs Act applies not only to protect the court’s current jurisdiction but also the court’s potential

or future jurisdiction (e.g., the jurisdiction to enforce its prior orders or to hear a related matter on

appeal). Id.

        Notably, the All Writs Act is a residual source of judicial power that fills procedural gaps;

and while it does not confer new or independent jurisdiction, see Baker Perkins, Inc. v. Werner &

Pfleiderer Corp., 710 F.2d 1561, 1565 (Fed Cir. 1983), it enables a court to act in aid of an existing

jurisdiction or to enforce a prior judgment. N.Y. Tel. Co., 434 U.S. at 172. A district court always

retains jurisdiction to enforce the judgments it enters. Dietzsch v. Huidekoper, 103 U.S. 494

(1880); Wood v. Santa Barbara Chamber of Commerce, Inc., 705 F.2d 1515, 1524 (9th Cir. 1983).

This includes the power to enjoin parties from relitigating final judgments. In re March, 988 F.2d

498, 500 (4th Cir. 1993) (“The All Writs Act empowers a federal court to enjoin parties before it

from attempting to relitigate decided issues and to prevent collateral attack of its judgments.”).

Thus, a court may deploy the Act to “issue all writs necessary or appropriate in aid of their

respective jurisdictions,” such as orders to effectuate its rulings or to prevent conduct that would

obstruct the implementation of its decisions. 28 U.S.C. § 1651(a).

        Under 28 U.S.C. § 1585, the CIT “shall possess all the powers in law and equity of … a

                                                   29
     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25       Page 35 of 42




district court of the United States.” This includes the power to issue injunctive and declaratory

relief as necessary to effectuate its decisions. The CIT’s comprehensive remedial powers are

further confirmed by 28 U.S.C. § 2643, which allows the Court to order any appropriate relief in

a case within its jurisdiction. Read together with the All Writs Act, the CIT is empowered to

fashion forward-looking remedies to enforce its judgments and prevent obstruction of its

jurisdiction. For example, in Zenith Elecs. Corp. v. United States, 884 F.2d 556 (Fed. Cir. 1989),

the Federal Circuit affirmed the CIT’s use of an All Writs Act injunction to prevent the Department

of Commerce from altering antidumping duty results in a way that would “impair the court’s

jurisdiction” over the case. Additionally, in Shinyei Corp. of Am. v. United States, 355 F.3d 1297,

1312 (Fed. Cir. 2004), the Federal Circuit held that the CIT could provide meaningful relief to an

importer even after Customs had liquidated the entries at issue, rejecting the notion that a technical

bar (the finality of liquidation) could nullify the court’s ability to vindicate the importer’s rights,

and emphasizing that nothing in the law prohibits the court’s ability to correct the error.

               2.      CBP’s Retaliatory Actions Threaten the Integrity and Enforceability of
                       this Court’s Judgment in Eteros I.

       The record in this case reveals a disturbing pattern of retaliatory animus directed at Plaintiff

by CBP. The undisputed facts show that, after losing in Eteros I, CBP at the Port of Blaine, WA,

undertook retaliatory enforcement actions against Eteros and its executives to penalize their court

victory and deter future reliance on the Court’s judgment in Eteros I. According to the

Complaint—which the Government’s filings do not meaningfully refute at this stage—CBP falsely

“mischaracterize[d] lawful activities” by Eteros personnel as violations of federal narcotics

trafficking laws in order to justify harsh immigration penalties. Compl. at ¶62, ECF 1. Specifically,

CBP denied the renewal of visas, issued an expedited removal order against Plaintiff’s CEO,




                                                  30
     Case 1:25-cv-00036-GSK           Document 25         Filed 06/06/25       Page 36 of 42




imposed five-year and lifetime 22 bans on entry, revoked NEXUS trusted-traveler memberships,

and threatened criminal prosecution and imprisonment for conduct deemed legal by this Court.

       These enforcement actions are extraordinary. They do not involve the discovery of any

new facts other than those at issue (and resolved) in Eteros I; rather, they rest entirely on this

Court’s decision in Eteros I and CBP’s characterization of Eteros’s lawful business activities as

criminal narcotics trafficking. In denying reconsideration of the removal, CBP’s Area Port

Director for the Port of Blaine bluntly acknowledged the underlying premise: although Eteros had

“succeeded at CIT” in establishing the legality of its imports, the CIT “lacks authority to set

precedent over U.S. immigration law,” and the court’s ruling “solely addressed import restrictions”

with “no basis on the … immigration consequences” of involvement in the marijuana industry. See

Compl. Ex. C, ECF 21-1 at 118. In the Port Director’s view, Eteros I “did not determine that

[Eteros’s] business was outside the scope of federally illegal marijuana production,” so CBP felt

free to treat Eteros and its officers as narcotics traffickers despite the CIT’s judgment. Id. The

record leaves little doubt that CBP’s campaign was retaliatory: it was explicitly triggered by

Eteros’s “litigation success against CBP,” aimed at maligning Eteros’s legitimacy, and calculated

to punish the company and its personnel for prevailing in court, and aiming to put them out of

business. The practical effects have been severe. Eteros’s operations have suffered because key

employees cannot travel to the United States. CBP’s actions have also created a “realistic

apprehension” among other Eteros employees that merely by carrying out the business (in

compliance with this Court’s decision and state/federal law) they risk being labeled drug traffickers

and subjected to arrest, prosecution, or imprisonment if they set foot in the U.S. This kind of fear



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          A finding by CBP that a foreign citizen is a narcotics trafficker under 21 U.S.C. §§ 841
or 1907 results in a lifetime ban from travel to the U.S. under 8 U.S.C. § 1182(a)(2)(C).

                                                 31
     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25       Page 37 of 42




is precisely the chilling effect one would expect CBP’s retaliation to engender – a warning to

Eteros (and by extension, other importers) that success in the CIT can be met with personal, direct

and devastating retribution.

       CBP’s conduct threatens to eviscerate the relief that Eteros won in Eteros I and strikes at

the CIT’s underlying authority. This Court’s Eteros I judgment was not some abstract

pronouncement; it was a hard-earned shield that allowed Eteros’s lawful merchandise to enter the

United States, thereby enabling Eteros’s U.S. business activities to thrive. That judgment assured

Eteros that engaging in state-authorized and federally-exempt cannabis-related commerce (as

described in Eteros I) is lawful and cannot be penalized by CBP under federal laws. CBP’s

retaliatory measures – by branding those very activities as “illicit” drug trafficking – directly

undermine the effect of the Court’s decision. Eteros technically may still import its machines (CBP

has not excluded/seized Eteros’s goods since Eteros I), but the company cannot do so with the

participation of its leadership or without fear of draconian personal consequences.

       CBP has thus nullified the Court’s judgment by making Eteros’s victory hollow: the goods

may pass, but the people necessary to Eteros’s U.S. operations are kept out and banned for life,

directly undercutting the enforceability of this Court’s judgment. In hollowing out the final

judgment in Eteros I, CBP seeks to achieve through abusive immigration enforcement measures

what it was forbidden from doing in this case; and such conduct, if unchecked, would render the

Court’s review in Eteros I “an idle ceremony,” and its final judgment a dead letter. Zenith Radio

Corp. v. United States, 518 F. Supp. 1347, 1349 (Ct. Int’l Tr. 1981) (quoting Scripps-Howard

Radio, Inc. v. F.C.C., 316 U.S. 4, 10 (1942)).

       This Court has both the authority and the duty to protect the integrity of its judgments. Just

as Article III courts may issue writs to prevent the direct evasion or defiance of their orders, so too



                                                  32
     Case 1:25-cv-00036-GSK               Document 25     Filed 06/06/25        Page 38 of 42




may they act to prevent any indirect frustration of a judgment’s intended legal effect—as CBP has

sought to do here.

                3.      The Government’s Objections to All Writs Relief Are Unavailing.

        The Government mischaracterizes the nature of Eteros’s claim by framing it as a purely

immigration matter outside the CIT’s jurisdiction. In reality, Eteros invokes the All Writs Act and

28 U.S.C. § 1581(i)(1)(D) to enforce this Court’s prior judgment in Eteros I, not to adjudicate

individual immigration benefits. That the retaliatory penalties take the form of immigration actions

does not defeat jurisdiction, so long as the requested relief is “in aid of” the Court’s original

§ 1581(a) jurisdiction in Eteros I, and the holding which CBP has knowingly disregarded and

twisted to retaliate against Plaintiff.

        The Government misleads the court and suggests that Eteros’s recourse lies exclusively

through immigration channels and some future district court action. Eteros’s CEO was subjected

to expedited removal under 8 U.S.C. § 1225, a process with little opportunity for judicial or

administrative review. In the WAWD litigation, the Government has argued that neither the

immigration courts nor the district courts have jurisdiction to review the agency’s conduct. Only

the CIT can provide effective relief because the retaliation at issue directly undermines its

judgment in Eteros I and the CBP rationale offered to support its theory of narcotics trafficking

relies explicitly on this Court’s Eteros I judgment and related stipulations.

        Finally, the Government argues that this Court lacks jurisdiction because no merchandise

was physically excluded by CBP. The Government posits that “without an import that has been

barred in violation of the court’s prior decision, this Court does not have subject matter




                                                 33
      Case 1:25-cv-00036-GSK           Document 25          Filed 06/06/25       Page 39 of 42




jurisdiction” over the case. 23 Govt. Br. at 8. It is true that CBP, careful not to openly defy Eteros I

on the import prohibition front, has not seized or excluded Eteros’s merchandise at the border. But

the jurisdictional nexus to an import transaction – and to this Court’s prior exercise of § 1581(a)

jurisdiction – is nonetheless clear and direct. The adverse immigration actions at issue stem directly

from the importation of cannabis-related merchandise by Plaintiff and this Court’s judgment

declaring those imports lawful and ordering CBP at the Port of Blaine to release the lawful goods

into U.S. commerce. CBP invoked Eteros I and its record to label Eteros executives as illicit

traffickers, justifying inadmissibility under 21 U.S.C. §§ 841, 1907 and INA § 212(a)(2)(C). See

Compl. Ex. C, ECF 21-1 at 118. These actions clearly “arise out of laws providing for” embargoes

and restrictions on imports and constitute the “administration and enforcement” of such laws—

bringing this matter squarely within § 1581(i)(1)(D) and (i)(4). The retaliation is inseparable from

the underlying import transaction in Eteros I and is plainly designed to circumvent this Court’s

judgment.

II.    In the Alternative, the Court May Reopen Eteros I and Convert this Action to an
       Enforcement or Contempt Proceeding.

       While Plaintiff maintains that jurisdiction is proper under 28 U.S.C. § 1581(i)(1)(D), and

that this action was properly initiated to vindicate Plaintiff’s rights and this Court’s prior judgment,


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           The Government appears to concede that if CBP had merely disregarded this Court’s
judgment by prohibiting entry of Eteros’s cannabis-related equipment, then this Court would have
jurisdiction to entertain that failure in the administration and enforcement of its Eteros I judgment.
But because CBP instead connived to exclude Eteros’s executives (instead of its merchandise) by
claiming their involvement with ongoing imports of cannabis-related machinery constitutes illicit
narcotics trafficking under 21 U.S.C. §§ 841 and 1907, somehow this form of retaliation falls
outside this Court’s administration and enforcement jurisdiction? This distinction is illusory. A
defendant cannot evade this Court’s jurisdiction simply by shifting the mode of noncompliance
from merchandise to personnel. Where an agency action is designed to nullify or circumvent a
prior judgment of this Court, it must remain subject to the Court’s enforcement jurisdiction—
regardless of the specific mechanism used. The integrity of this Court’s judicial authority does not
turn on whether the Government’s overt defiance targets goods or people.

                                                  34
     Case 1:25-cv-00036-GSK           Document 25         Filed 06/06/25       Page 40 of 42




Plaintiff respectfully notes that the Court retains the inherent authority to enforce and protect its

judgments through equitable powers, including civil contempt, without requiring a separate civil

action. See Shillitani v. United States, 384 U.S. 364, 370 (1966) (“There can be no question that

courts have inherent power to enforce compliance with their lawful orders through civil

contempt.”); Reynolds v. Roberts, 207 F.3d 1288, 1298 (11th Cir. 2000) (“Consent decrees, like

all injunctions, are to be enforced through the trial court’s civil contempt power.”). When a court

renders a final judgment, it retains the authority to ensure that judgment is honored and not

undermined, allowing courts to supervise compliance with their decrees and to punish contempt

of court.

       Accordingly, if the Court determines that the gravamen of this action is better addressed as

an enforcement proceeding or motion for contempt in Eteros I, rather than as a stand-alone suit,

Plaintiff respectfully requests that the Court exercise its discretion to reopen the docket in Eteros

Technologies USA, Inc. v. United States, Court No. 21-cv-0287, and consolidate the present

proceedings thereunder. Such action would be consistent with federal court’ practice of reopening

original cases to address noncompliance or retaliation undermining prior judgments. See Nix v.

Billington, 448 F.3d 411, 416 (D.C. Cir. 2006) (district court retained jurisdiction to enforce

consent decree despite expiration of monitoring period); Peacock v. Thomas, 516 U.S. 349, 356

(1996) (noting proper enforcement of prior judgments generally occurs within the original

proceeding); Wyatt ex rel. Rawlins v. Rogers, 92 F.3d 1074, 1078 (11th Cir. 1996) (discussing use

of an order to show cause why the defendant should not be held in contempt for noncompliance).

       This Court’s judgment in Eteros I is being undermined not by noncompliance with the

Court’s prior exclusion release order, but by CBP’s retaliatory manipulation of that judgment and

the factual stipulations made by Eteros in that case to impose extrajudicial penalties and deny



                                                 35
     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25       Page 41 of 42




Plaintiff due process of law and the benefits of its success in Eteros I. Whether treated as an

independent § 1581(i)(1)(D) action, or as an enforcement motion within Eteros I, the requested

relief is the same: the protection of this Court’s authority and the vindication of its final judgment

from being twisted into a tool of vigilante agency retaliation.

       Plaintiff therefore respectfully requests that, in the event the Court concludes that this

matter is more appropriately resolved under the original case’s jurisdictional posture, it grant leave

to reopen Eteros I and adjudicate the allegations herein as part of that enforcement record. Such a

conversion would not prejudice Defendant, would serve judicial economy, and would ensure that

the Court retains control over the administration and enforcement of its own final judgments.

                                          CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that this Court issue an order

denying the Defendants’ Motion to Dismiss the Complaint.

                                               Respectfully submitted,

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Dated: June 6, 2025



                                                 36
     Case 1:25-cv-00036-GSK            Document 25         Filed 06/06/25       Page 42 of 42




UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. GARY S. KATZMANN
-------------------------------------------------------------------- X
ETEROS TECHNOLOGIES USA, INC.,                                        :
                                                                      :
                 Plaintiff,                                           :
                                                                      :
                 v.                                                   : Case No. 25-cv-36-GSK
                                                                      :
UNITED STATES OF AMERICA,                                             :
                                                                      :
                                                                      :
                 Defendant.                                           :
-------------------------------------------------------------------- X

                              CERTIFICATE OF COMPLIANCE

       Pursuant to the U.S. Court of International Trade Standard Chambers Procedures, and in

reliance upon the word count feature of the word processing program used to prepare the instant

Memorandum, I, Richard F. O’Neill, of Neville Peterson LLP, who is responsible for the instant

Memorandum, certify that it contains 12,020 words.


                                                      Respectfully submitted,

                                                      /s/ Richard F. O’Neill
                                                          Richard F. O’Neill
